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                                    United States District Court
       ___________CENTRAL_                                     ___               DISTRICT OF                CALIFORNIA_______       ________


              In the Matter of the Seizure of                                                          SEIZURE WARRANT
(Address or Brief description of property or premises to be seized)

2015 MERCEDES BENZ S-CLASS, VIN:                                                                       CASE NUMBER: 2:18-MJ-00873
WDDUG8CB5FA075049, LICENSE PLATE NUMBER
KENTLAW LOCATED AT A RESIDENCE AT 10040
GOTHIC AVENUE, NORTH HILLS, CALIFORNIA
91343




       TO:     United State Secret Service (USSS) and any Authorized Officer of the United States, Affidavit(s) having been made before
       me by SPECIAL AGENT TERESA HEALY who has reason to believe that in the Central District of California there is now certain
       property which is subject to forfeiture to the United States, namely (describe the property to be seized)

       2015 Mercedes Benz S-Class, VIN: WDDUG8CB5FA075049, License Plate Number KENTLAW Located at a Residence at 10040
       Gothic Avenue, North Hills, California 91343


       which is (state one or more bases for seizure under United States Code)

       subject to seizure and forfeiture under 18 U.S.C. § 981

       concerning a violation of Title 18 United States Code, Section(s) 1343 and/or 1344, and 1956 .

       I am satisfied that the affidavit(s) and any recorded testimony establish probable cause to believe that the property so described is
       subject to seizure and that grounds exist for the issuance of this seizure warrant.


       YOU ARE HEREBY COMMANDED to seize within 14 days the property specified, serving this warrant and making the seizure in
       the daytime - 6:00 A.M. to 10:00 P.M., leaving a copy of this warrant and receipt for the property seized, and prepare a written
       inventory of the property seized and promptly return this warrant to the undersigned judicial officer as required by law. The recipient
       of this Warrant is HEREBY COMMANDED to comply with the duties and obligations set out in Attachment A attached hereto.




       April 12, 2018             !QN
                                                                                                       Los Angeles, California
       Date and Time Issued                                                                    City and State


       MAGISTRATE JUDGE ROZELLA A. OLIVER
       Name and Title of Judicial Officer                                                           t
                                                                                               Signature off Judicial
                                                                                                             J di i l Officer
                                                                                                                      Offi


       JOHN KUCERA/smb
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